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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6

                                   7     LIV GOLF, INC.,                                   Case No. 22-cv-04486-BLF
                                   8                    Plaintiff,
                                                                                           ORDER GRANTING RENEWED
                                   9             v.                                        MOTION TO SEAL
                                  10     PGA TOUR, INC.,                                   [Re: ECF No. 455]
                                  11                    Defendant.

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                                  13          Before the Court is the TOUR’s renewed motion to seal three exhibits that LIV submitted
                                  14   with its Opposition to the TOUR’s Alternative Cross-Motion for Stay of Discovery. See Mot.,
                                  15   ECF No. 455. The Court previously denied the request to seal the exhibits on the ground that the
                                  16   TOUR had not adequately justified sealing the materials and had not narrowly tailored its request.
                                  17   See Order, ECF No. 440. No opposition has been filed to the renewed motion. For the reasons
                                  18   below, the TOUR’s renewed motion to seal is GRANTED.
                                  19     I.   LEGAL STANDARD
                                  20          “Historically, courts have recognized a ‘general right to inspect and copy public records
                                  21   and documents, including judicial records and documents.’” Kamakana v. City and Cnty. of
                                  22   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435
                                  23   U.S. 589, 597 & n.7 (1978)). Consequently, access to motions and their attachments that are
                                  24   “more than tangentially related to the merits of a case” may be sealed only upon a showing of
                                  25   “compelling reasons” for sealing. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092,
                                  26   1101-02 (9th Cir. 2016). Filings that are only tangentially related to the merits may be sealed
                                  27   upon a lesser showing of “good cause.” Id. at 1097.
                                  28          Under this Court’s Civil Local Rules, a party moving to seal a document in whole or in
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                                   1   part must file a statement identifying the legitimate private or public interests that warrant sealing,

                                   2   the injury that will result if sealing is denied, and why a less restrictive alternative to sealing is not

                                   3   sufficient. See Civil L.R. 79-5(c)(1). A supporting declaration shall be submitted if necessary.

                                   4   See Civil L.R. 79-5(c)(2). Finally, the moving party must submit “a proposed order that is

                                   5   narrowly tailored to seal only the sealable material[.]” Civil L.R. 79-5(c)(3).

                                   6           Where the moving party requests sealing of material that has been designated confidential

                                   7   by another party, the designating party has the burden to establish that the material should be

                                   8   sealed. See Civil L.R. 79-5(f).

                                   9    II.    DISCUSSION
                                  10           The good cause standard applies here because the sealing request relates to briefing on

                                  11   motions to stay discovery, which is only tangentially related to the merits of the case. Cf. Ctr. for

                                  12   Auto Safety, 809 F.3d at 1097; cf. also LELO, Inc. v. Standard Innovation (US) Corp., No. 13-
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                                  13   CV01393-JD, 2014 WL 2879851 (N.D. Cal. June 24, 2014) (applying “good cause” standard to

                                  14   evaluate sealing of documents submitted with a motion to stay); E. W. Bank v. Shanker, 2021 WL

                                  15   4916729, at *1 (N.D. Cal. Aug. 31, 2021) (same).

                                  16           The Court finds that the TOUR has demonstrated good cause to seal the materials it seeks

                                  17   to seal. The TOUR requests to seal information that includes confidential internal business

                                  18   decisions and public relations strategies. See Mot. 3-7; see also Shetty Decl. ¶¶ 1-6, ECF No. 455-

                                  19   1. Such information is sealable under the compelling reasons standard and is therefore sealable

                                  20   under the good cause standard that applies here. Cf. Hetland v. LendingTree, LLC, 2021 WL

                                  21   2313386, at *1 (N.D. Cal. May 3, 2021) (holding that documents “contain[ing] and reflect[ing]

                                  22   confidential business information that offers insight into [designating party’s] business model and

                                  23   strategy” are sealable under the compelling reasons standard). Furthermore, the TOUR has now

                                  24   narrowly tailored its request as required by Civil Local Rule 79-5(c)(3). Accordingly, the

                                  25   TOUR’s request to seal is GRANTED.

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                                                ECF No.           Document           Portion(s) to Seal           Court’s Ruling
                                   1
                                           421-4             Ex. F to Surprenant    Entire Exhibit          GRANTED,1 as
                                   2                         Declaration                                    containing confidential
                                                                                                            information of the TOUR,
                                   3                                                                        the disclosure of which
                                                                                                            would harm the TOUR by
                                   4                                                                        revealing its business
                                                                                                            strategy and details
                                   5
                                                                                                            regarding the TOUR’s
                                   6                                                                        internal communication
                                                                                                            strategy that could expose
                                   7                                                                        the TOUR to cyber
                                                                                                            intrusion.
                                   8       421-5             Ex. G to Suprenant     Highlighted portions    GRANTED, as containing
                                   9                         Declaration            at lines:               commercially sensitive
                                                                                    • 9:1-5                 information about the
                                  10                                                • 9:8                   TOUR’s internal
                                                                                    • 10:9-11               workings, including
                                  11                                                • 10:14-15              media strategy, the
                                                                                    • 10:18-21              TOUR’s relationships
                                  12                                                                        with its consultants, and
Northern District of California




                                                                                    • 10:23
 United States District Court




                                                                                                            internal communication
                                  13                                                • 70:1-3
                                                                                                            decisions, the disclosure
                                                                                    • 70:6
                                  14                                                                        of which would harm the
                                                                                    • 70:8-9                TOUR’s competitive
                                  15                                                • 70:11-14              standing and business
                                                                                    • 70:16-18              relationships by revealing
                                  16                                                • 71:9-12               sensitive details about the
                                                                                    • 71:15-22              way the TOUR operates
                                  17
                                                                                    • 71:24-72:10           including its media
                                  18                                                • 72:14-20              strategy and work with
                                                                                    • 78:1-4                non-party consultants.
                                  19                                                • 78:11-80:25
                                  20                                                • 88:8-89:23
                                           421-8             Ex. L to Suprenant     Highlighted portions    GRANTED, as containing
                                  21                         Declaration            at bates range          competitively sensitive
                                                                                    PGA_TOUR0516771-        communications between
                                  22                                                PGA_TOUR0516788         TOUR executives and a
                                                                                                            non-party consultant
                                  23                                                                        retained by the TOUR,
                                  24                                                                        the disclosure of which
                                                                                                            would cause competitive
                                  25                                                                        harm to the TOUR by
                                                                                                            revealing its public
                                  26                                                                        relations strategy.
                                  27
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                                  28    The Court declines the TOUR’s alternative invitation to strike this document under Federal Rule
                                       of Civil Procedure 12(f).
                                                                                      3
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                                       III.   ORDER
                                   1
                                              For the foregoing reasons, IT IS HEREBY ORDERED that the TOUR’s motion to seal
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                                       (ECF No. 455) is GRANTED. The TOUR shall file public redacted versions of Exhibits G and L
                                   3
                                       to the Surprenant Declaration, consistent with the table above, to the public docket by no later than
                                   4
                                       June 27, 2023.
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                                       Dated: June 13, 2023
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                                                                                       ______________________________________
                                   8                                                   BETH LABSON FREEMAN
                                                                                       United States District Judge
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